







		NO. 12-08-00490-CV


NO. 12-08-00491-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



§
	APPEALS FROM THE 

IN THE ESTATE OF 

IVOR D. BYFORD,§
	COUNTY COURT OF

DECEASED

§
	VAN ZANDT COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	On December 18, 2008, Nona Parkerson filed a notice of appeal in appellate cause numbers
12-08-00490-CV and 12-08-00491-CV.  The caption of each notice of appeal indicated that the
appealed judgment was from the County Court of Van Zandt County, Texas.  In the body of each
notice, however, the appealed judgment was described as having been rendered by the 294th Judicial
District Court of Van Zandt County.  A third notice of appeal was filed on the same date (appellate
cause number 12-08-00489-CV), which also described the district court judgment but named the
district court in its caption.  

	On January 5, 2009, this court notified Parkerson, pursuant to Texas Rule of Appellate
Procedure 37.1, that the information received in these appeals does not contain a final judgment or
other appealable order from the county court.  Parkerson was further informed that the appeals would
be dismissed if the information received in the appeals was not amended on or before January 15,
2009 to show the jurisdiction of this court.  We have received information that the notices of appeal
were filed in cause numbers 12-08-00490-CV and 12-08-00491-CV as a precaution only due to the
unique procedural history of the case.  We were further informed that the county court did not enter
any judgment that was the intended subject of these appeals.  Accordingly, the appeals are dismissed
for want of jurisdiction.  See Tex. R. App. P. 37.1, 42.3.

Opinion delivered January 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


